Case 3:07-mj-00013-WIG Document 2 Filed 01/29/07 Page 1 of 16
AO 94 (Rev. 8/97) Commitment to Another District

 

 

UNITED STATES DISTRICT COHRE: r)

 

 

District of

UNITED STATES OF AMERICA COMMI TO ARNOTHER
v 2001 J "DISTRICT

 

Fernando Al yarez wg SiSTt

 

DOCKET NUMBER MAGISTRATE JUDGE CASE NUMBER

 

 

 

 

 

District of Arrest District of Offense District of Arrest District of Offense
Coemectheot | New Yorte 3204 My \AWIO M- ov 117
CHARGES AGAINST THE DEFENDANT ARE BASED UPON AN
[ ]Indictment (]Information "Complain ClOther (specify)
charging a violation of US.C. §

 

DISTRICT OF OFFENSE

DESCRIPTION OF CHARGES: 7) > § TUANConS Pi CRE Y te dis trboyte

 

 

A €faoin
CURRENT BOND STATUS:
ail Fixed at and coriditions were not met
re vernment moved for detention and defendant detained after hearing in District of Arrest

overnment moved for detention and defendant detained pending detention hearing in District of Offensec__—_
L]Other (specify)

 

Representation: ZArerained Own Counsel CJ Federal Defender Organization CICJA Attorney §[JNone

 

Interpreter Required? x No J Yes Language:
DISTRICT OF

 

TO: THE UNITED STATES MARSHAL

You are hereby commanded to take custody of the above named defendant and to transport
that defendant with a certified copy of this commitment forthwith to the district of offense as
specified above and there deliver the defendant to the United States Marshal for that District
or to some other officer authorized to receive the defendant.

fus/o9 6 DO/

Ddte United States Jadge-or Magistrate Judge

 

RETURN

 

This commitment was received and executed as follows:

 

DATE COMMITMENT ORDER RECEIVED PLACE OF COMMITMENT DATE DEFENDANT COMMITTED

 

 

 

DATE UNITED STATES MARSHAL (BY) DEPUTY MARSHAL

 

 

 

 

 
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Gif 26/2887 ls:ae 732> T3Y8-D5 fb :

Case 3:07-m|- -00913- WIG .

336) Warrant for Arrasy

   
 
  
 

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) UNITED oo

EASTERN

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RICT oe QURT :

  
 

 

 

 

 

 

 

oa WARRANT FOR ARREST
FERNANDO ALVAREZ. also known as” “Rancho 4 CA e-11
Dafendant: M< j i
TO: ‘The United Statag Marshal - .

Drug Entorcemant Administration von Special

rr Agent Chis Oksala
and any. Authorized United States 0 Officer

laQistrata to answar a(n) .

 

     
   
   

: . [7] Violation Natles [| Prabation Violation Pawtion
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UNITED STATES M MAGISTRATE suoge
Tite oftasuinig: “Officer :

"January 26, 2007. pO

Brooklyn. Naw York
Oste and Location

 

 

 

 

By UNITED STATES MAGISTRATE. JUDGE

: 7]
RETURN = __

 

 

 

DATE RECEIVED 7 "NAME AND TITLE OF ARRESTING OFFicER:

 
  

"SIGNATURE OF ARRESTING OFFICER

 

 

  

DATE OF ARREST .

 

 

 

 
 

16:54 FR US ATTORNEYS OFFICE
Case 3:07-mj-00013-WIG Document

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SLD: SCg

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
- against ~-

FERNANDO ALVAREZ,
also known as “Rancho,”

Defendant.

mmm meme ee ia tle

EASTERN DISTRICT OF NEW YORK, SS:

CHRIS L. OKSALA, being
that he is a Special Agent with t
Administration, duly appointed ac
such.

Upon information and be
November 15, 2006 ‘and January 18,
approximate and inclusive, within

York and elsewhere, the defendant

“Rancho,” together with others, d

conspire to distribute and to pos:

more than one kilogram of heroin,

substance, in violation of Title

841 (a) (1).

7182546327? TO 3912635795556 P.

2 Filed 01/29/07 Page 3 of 16

-O7%-117 |

TO BE FILED UNDER SEAL

AFFIDAVIT IN SUPPORT
OF ARREST WARRANT

(21 U.S.C. § 846)

duly sworn, deposes and says
he Drug Enforcement

cording to law and acting as
lief, on or about and between
2006, both dates being

the Eastern District of New
FERNANDO ALVAREZ, also known as
id knowingly and intentionally
sess with intent to distribute

a Schedule I controlled

21, United States Code,

Section

 

(Title 21,
841(b) (1) (A); Title 18,

SE. )

United States Code, Sections 846 and

United States Code, Sections 3551 et
_ JAN

 

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To 912895798552 P.83
Case 3:07-mj-00013-WIG Document 2 Filed 0 1/3 9/07 Page 4 or 16

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The source of your depgnent's information and the
grounds for his belief are as follows:

1. I have been a Special Agent with the DEA since
January 2004, duly appointed accdrding to law and acting as such.
The DEA investigates crimes involving narcotics, particularly
drug trafficking. During my tenure with the DEA, I have
participated in numerous narcotids investigations. Through my
training, education and experience -- which has included
debriefing numerous cooperating drug traffickers, monitoring
numerous wiretapped conversations of drug traffickers, conducting
humerous searches of locations where drugs and money have been
found, and conducting surveillance on numerous occasions of
individuals engaged in drug trafficking -- I have become familiar
with the manner in which illegal drugs are imported and
distributed, the method of payment for such drugs, and the
efforts of persons involved in such activity to avoid detection

by law enforcement. |

2. Since in or about September 2006, DEA agents in
New York have been investigating Alexander Amaya (hereinafter
"Amaya”), after receiving information from an on-going DEA
wiretap investigation that Amaya vas involved in narcotics
trafficking, The defendant FERNAMDO ALVAREZ, also known as

“Rancho,” has been intercepted engaging in narcotics related
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conversations with Amaya.

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Case 3:07-mj-00013-WIG Document}2 Filed 01/29/07 Page 5

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3. During the course/of the investigation, I have

personally participated in the investigation of this conspiracy
by, among other things, conferring with other law enforcement
agents involved in the investigation, conducting surveillance,
debriefing confidential informants, and reviewing information
Provided to me by other agents, translators and agent reports. I
have also personally been involvéd in monitoring pen registers,
reviewing toll records, and reviawing and analyzing conversations
and summaries of conversations intercepted pursuant to authorized
Wiretaps of telephones used by members of the conspiracy to
conduct narcotics trafficking business, I have supplemented my
personal knowledge by discussing |this investigation with other
law enforcement officers who also participated in this
investigation, Those officers halve provided me with additional
information regarding this investigation upon their personal
involvement. In this affidavit, lnless otherwise indicated, I

make no distinction between my Own personal observations and

activities and those provided by bother law enforcement sources,

 

4, Wiretaps were authorized during the course of the

investigation establishing Probable cause to arrest, including,

 

On or about November 20, 2006, the Honorable Sandra L. Townes,
United States District Court Judge for the Eastern District of
New York authorized the interception of the wire communications

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over telephone number (212) 671-2050, which was used primarily by
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Case 3:07-mj-00013-WIG Document(2 Filed 01/29/07 Page 6 of Te

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Alexander Amaya .(the “AMAYA CELLPHONE™) Interception of the
AMAYA CELLPHONE terminated on or} about January 18, 2007.

5. The purpose of this affidavit is limited to Setting
forth probable cause to arrest the defendant FERNANDO ALVAREZ,
also known as “Rancho.” Therefore, I have not set forth every
fact of which I am aware, Ags set forth below in this affidavit,
your deponent has summarized certain portions of taped

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conversations that were intercepted during court-authorized wire

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Surveillance. I have not summarizeg every pertinent intercepted

call or all portions of the pertinent calls cited herein.

Moreover, the Summaries are preliminary and are often based on
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contemporaneous notes made by monitors of the wire surveillance

and not on verbatim transcripts, | All conversations set forth
below are Summarized in part and lin substance only, and all times

reflected herein, are @pproximate iand based on readings from the

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Sees |

monitoring equipment .2/ The conversations summarized herein are
. ; ;

not intended to be verbatim accounts of intercepted

communications,

 

1 The contents of wire interceptions Set forth in this
affidavit are disclosed pursuant to Title 18, United States Code,
Section 2517(2), which bermits such disclosure whenever
“appropriate to the performance of [my] official duties."
Moreover, this affidavit will be disclosed to counsel for the
defendant, and thus also serves as notice, pursuant to Title 18,
United States Code, Section 2518 (9), that the interceptions

described herein may be used at detention hearings regarding the
defendant,

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6. Throughout this affidavit, my beliefs are
expressly stated, or are set forth in brackets inserted in
summaries of calls. These beliers constitute the opinion of your

deponent, based on; my experience and training in investigating

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narcotics; my review of intercepted communications, including

other communications not summarized in this affidavit;
information gathered from confidential sources and fellow agents;

and my overall knowledge of and involvement in this case, as set
forth in more detail above, :

7. Unless otherwise indicated, identification on the

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wire interceptions in this investigation were made through name

and voice identifications of the defendants made by the monitors
and agents monitoring wire interceptions. Accordingly, agents
initially identified each interceptee through the name that
interceptee used to identify himself or herself at the beginning
of conversations; or through the name other interceptees used to.
identity that interceptee at the beginning of conversations.
Thereafter, in some cases, agents; and monitors would identify the

interceptees either through the upe of their name or through

voice identifications based upon | omparisons with prior

 

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interceptions of those individual

8. The facts set corel in this affidavit are based on

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Personal knowledge and observations, discussions with and

information provided by confidential Sources, surveillance,

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JAN 23 2087 14:54 FR US ATTORNEYS OFFICE 7182545927 TO 912835795558 P.a?
ie Case 3:07-mj-00013-WIG Document!2 Filed 01/29/07 Page 8 of 16

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review of the case file, and conversations with other law

enforcement officers working with me on this investigation,

BACKGROUND

 

 

se As set forth in the paragraphs below, I believe

there is probable cause to beliete that the defendant FERNANDO

 

ALVAREZ, also known as “Rancho,”! is involved in the trafficking

of narcotics, including heroin,

10. On or about September 29, 2006, the defendant
FERNANDO ALVAREZ, also known as “Rancho, ” was arrested by Drug
Enforcement Administration (“DEA”) agents and is currently being
prosecuted for heroin trafficking in Waterbury Superior Court in
Waterbury, Connecticut. At the time of his arrest, DEA agents
executed a search warrant of FERNANDO ALVAREZ’s home and seized
approximately $32,000 and 5 grams of heroin. FERNANDO ALVAREZ
told DEA agents that he knew they were coming to arrest him. On
Or about September 30, 2006, FERNANDO ALVAREZ was released on a
secured bond pending disposition of the aiaadanee i
However, as set Forth below, in dr about December” ond January

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BR FERNANDO ALVAREZ was intercepted engaging in narcotics

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related conversations with an individual who lives in Queens, New

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York.

ll. For example, on or about December 1, 2006,
Alexander Amaya placed a call over the AMAYA CELLPHONE to a male,

identified as “Rancho,” later idebti tied as the defendant

 

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FERNANDO ALVAREZ,2/ using telephone number (646) 403-6069. Call
175. During the call Amaya asked, “Has that clown called you?"
FERNANDO ALVAREZ replied, "He is| calling me with some things
there, he is Calling me with some stories of his. I have to talk
' to you in person because f can't! talk to you about that over the
phone." Amaya said, "My friend found the guy and had a talk with
him, talking shit. Were you goihg to see him?" FERNANDO ALVAREZ
said, "Not me. ... that he wanted me to go up there so I. would
tell you a lie. And I was like I'm not going up there because I
was like 'Why don’t you go with these guys?' Because, he tells
me, he is going to take, because’ he has some CDs and he is going

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to tell them that I gave them ©) him, you understand? That I

gave it to him, so he can give them to you." Amaya said, "To

I
clean himself." FERNANDO ALVAREZ Said, "Yes, but look, what I'm
trying to do is see if he comes down here .., because he thinks

that by not coming down he doesn't have to pay the money for the
CDs that he took. You understand? I will call you tomorrow so we
can talk." Amaya said, "Okay. s6 when do I go up ox what?"
FERNANDO ALVAREZ Said, "I have te tell you, give me until around
Monday." Amaya said, "Okay, I will put away some music for you,

a little music," Based on my training and experience, the other

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2/ On or about August 31, 2006,) a confidential source met with

the defendant FERNANDO ALVAREZ, (This meeting was consensually
recorded. Based on a voice comp rison, FERNANDO ALVAREZ and the

person known as “Rancho” intercepted Speaking to Amaya over the
AMAYA CELLPHONE is the same person, J

 
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intercepted calls and my knowledge of the case thus far, it is my
Opinion that when FERNANDO ALVAREZ Said "pay the money for the
CDs" and Amaya said "I will put away some music for you" they
were referring to exchanging money for drugs.

12. On or about December 7, 2006, Amaya placed a call
over the AMAYA CELLPHONE to FERNANDO ALVAREZ, using (646) 403-
6069, Call 250. During the call | ; FERNANDO ALVAREZ said, "I hadn't
called, because I was waiting for a friend of mine and he hasn' t
called," Amaya replied, "Okay, will go up later, I'm going to
take you some music," FERNANDO ALVAREZ then said, "No, still,"
Amaya said, "Okay then, I will still go up later though." Jater
that same day, Amaya placed a call Over the AMAYA CELLPHONE to
FERNANDO ALVAREZ, using (646) 403-6069. Call 251. During that
call, Amaya sald, “I’m going over there, I’m on [I-]95 ... We
will see each other in a few minutes.” Based on my training and
experience, the other intercepted calls and my knowledge of the
case thus far, it is my opinion that when Amaya said, "I' mM going
to take you some music" he was referring to narcotics and that
Amaya met with FERNANDO ALVAREZ dn Or about December 7, 2006 to

deliver narcotics. |
13. On or about Decenber 9, 2006, Amaya placed a call

over the AMAYA CELLPHONE to FERNANDO ALVAREZ, using (646) 403-~

6069. Call 261, During this call, FERNANDO ALVAREZ said, “Are

you far?” Amaya -replied, “No, I’m really close. 1/1] call you

 
JAN 29 e646? 14:55 FR US ATTORNEYS OFFICE 7182546327 To 912935795554 P.1a

 

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in a while.” Based on my trainisg and experience, the other
intercepted calls and my knowledge of the case thus far, it is my
opinion that this call shows that Amaya and FERNANDO ALVAREZ met
on or about December 9, 2006 in érdex to exchange drugs and/or
drug proceeds, 3

14. The next day, on ér about December 10, 2006, Amaya
placed a call over the AMAYA CELLPHONE to FERNANDO ALVAREZ, using
(646) 403-6069. Call 263, During this call Amaya said, “How was
‘Daddy Yankees’ video? Good?” FERNANDO ALVAREZ said, Yes, yes

It’s good.” Amaya said, “Tt |was recorded pretty good?”

FERNANDO ALVAREZ said, “It was decent.” Based on my training and
experience, the other intercepted calls and my knowledge of the
case thus far, it is my opinion that when Amaya referred to the
“Daddy Yankees video,” he was referring to drugs and was asking
FERNANDO ALVAREZ if the quality df the drugs delivered was
satisfactory. !

15. On or about December 18, 2006, Amaya placed a call
over the AMAYA CELLPHONE to FERNANDO ALVAREZ, using (646) 403-
6063. Call 431. During this call, the defendant FERNANDO
ALVAREZ and Amaya agreed to meet on Wednesday. On or about
December 20, 2006, Amaya placed a call over the AMAYA CELLPHONE
to FERNANDO ALVAREZ, using (646) 403-6069. Call 465. During

this call FERNANDO ALVAREZ said, SI’m going to see you tomorrow

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because tomorrow I’m going to Court --- because I didn’t want you

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, Case 3:07-mj-00013-WIG Document 2 Filed 01 2 9/07 Page 43 Ss

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to come up, because tf am going to Court tomorrow, and I wanted to
be sure you understand? .., So tomorrow, as soon as I get out of
Court I will give you a call,” on or about December 21, 2006,
FERNANDO ALVAREZ and Amaya spoke! and FERNANDO ALVAREZ Said, “I’m
in Harrison, I’ll call you when i get back.” I have confirmed,
based on my discussions with DEA! agents in Connecticut, that
FERNANDO ALVAREZ appeared in court in Connecticut on or about
December 21, 2006. ;

16. Calls intercepted] over the AMAYA CELLPHONE
indicate that FERNANDO ALVAREZ and Amaya also met on or about
December 27, 2006, Call 539,

17. On or about January 2, 2007, Amaya received a call
Over the AMAYA CELLPHONE from FERNANDO ALVAREZ, using (646) 403-
6069. Call 606. During the call Amaya said, “Okay, what was I
going to tell you? When I go up there, I have some music that is
good.” FERNANDO ALVAREZ replied, “I have the CDs, the money for
the CDs there,” Amaya asked, "Yéu want me to go tomorrow?”
FERNANDO ALVAREZ replied, “Yes.” Amaya then said, “Okay, I will

go there tomorrow.” Based on my itraining and experience, the

is my opinion that when Amaya said “I have some music” he was
referring to narcotics. [It is aso my opinion that when FERNANDO

ALVAREZ said “the money for the Ops” he was referring to

narcotics proceeds.

 

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18. On or about Januaty 3, 2007, Amaya placed a cal]
over the AMAYA CELLPHONE te FERNANDO ALVAREZ, using (646) 403-

6069. Call 431. During this call, FERNANDO ALVAREZ said, “are
you there?” Amaya said, “I will'be there in a couple of
minutes.”

19. On or about Januaty 8, 2007, Amaya placed a call
over the AMAYA CELLPHONE to FERNANDO ALVAREZ, using (646) 403-
6069. Call 677. During the call FERNANDO ALVAREZ said, “I

Still haven't called you because! 7 was waiting on some people to

Pay the CDs.” Amaya said, “Okay; good.” PERNANDO ALVAREZ then
Said, “They are taking too long.’ Based on my training and
experience, the other intercepted calls and my knowledge of the
Case thus far, it is my opinion that when FERNANDO ALVAREZ said
“I was waiting on some people to! i Pay for the CDs” he was
referring to collecting money from narcotics customers to pay

Amaya,
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20. On or about January 9, 2007, Amaya placed a call
Over the AMAYA CELLPHONE to FERNANDO ALVAREZ, using (646) 403-

6069. Call 677, During the call FERNANDO ALVAREZ Said, “I’m
Still missing a littie ‘+. Iodon’t want to give you this. I want

to give you all the CDs in full,” Amaya said, “Fine.” FERNANDO

ALVAREZ Said, “I’ll Call you as goon as this is ready.” Based on

my training ang experience, the dther intercepted Calls and my

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knowledge of the case thus far, it is my Opinion that when

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JAN 29 2@@7 1@:56 FR US ATTORNEYS OFFICE 7 Bz54 TO_ 91283
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FERNANDO ALVAREZ said “I’m still! missing a little ... I don’t
want to give you this, I want to| give you all the CDs in full,”
he was referring to collecting money from narcotics customers to
pay Amaya. | |

21. On or about January 12, 2007, at approximately
4:19 p.m., Amaya placed a call over the AMAYA CELLPHONE to
FERNANDO ALVAREZ, using (646) 403-6069. Call 731. During the
call, Amaya asked, “What’s up? What’ s going on?” FERNANDO
ALVAREZ replied, “Here you know Le in the Court all day.” Amaya
then asked, “Go or what?” FERNANDO ALVAREZ said, “Yes, come up
+. Call me.” Amaya replied, “Okay, okay, I will take you a
DVD.” Based on my training and éxperience, the other intercepted
calls and my knowledge of the cade thus far, it is my opinion
that when Amaya referred to a “DVD,” he was referring to
narcotics, Also, I confirmed with DEA agents in Connecticut that

FERNANDO ALVAREZ had a court appearance on or about January 12,

2007.

22. Later that same daly, at approximately 9:40 p.m.,
Amaya received a call over the AMAYA CELLPHONE from FERNANDO
ALVAREZ, using (646) 403-6069, Cail 734. During this call, Amaya
said, “I will be there in 15-20 minutes over there ... everything
good, we will talk in a few.” |

23. Based on the abover referenced calls, on or about

January 12, 2007 at 10:00 p.m., agents conducted surveillance of

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CELLPHONE was located during previous meetings between Amaya and
FERNANDO ALVAREZ. Agents observed a Nissan Armada owned by
Alexander Amaya, but did not see! FERNANDO ALVAREZ or his vehicle.
24, Shortly afterwards, on or about January 12, 2007,
at approximately 10:12 P.m., Amaya placed a call over the AMAYA
CELLPHONE to FERNANDO ALVAREZ, ubing (646) 403-6069. Call 736.
During this call, Amaya said, ‘What’ s up are you near or what?”
FERNANDO ALVAREZ Said, “Yes, I’m) here coming in.” Amaya then
said, “Okay because I left, because there was a guy there in a
Monte Carlo ...” Amaya and FERNANDO ALVAREZ then agreed to meet
Shortly. Based on my training and experience, the other
intercepted Calls and my knowledge of the case thus far, it is my
Opinion that when Amaya Said that he left because of the guy in
the “Monte Carlo,” he was indicating that he moved from the
agreed upon waiting place becausg he suspected he was being

watched by law enforcement, In fact, one of the DEA agents

25. Also, in or about January 2006, agents learned
, . |
from a confidential source of information (“SOI”) that the

defendant FERNANDO ALVAREZ receives heroin on a regular basis

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Te ere : US ATTORNEYS OFFICE 7182546927 TO 912935795550 P.15
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from a Supplier based in the Eastern District of New York.
According to the SOI, FERNANDO ALVAREZ receives approximately 500

grams of heroin at a time.

26. On or about Januaty 19, 2006, the pra arrested
Alexander Amaya at his home in Qheens, New York and seized the
Nissan Armada. Ina hidden compartment, or trap, in Amaya’s
Nissan Armada, agents found approximately 100 grams of heroin and
55 grams of cocaine. Based on the Seizure and the calls
described above, I believe that Amaya Supplied heroin to FERNANDO
| ALVAREZ on multiple occasions ‘in [December 2006 and January 2007.
: WHEREFORE, your deponenit respectfully requests that an
. arrest warrant be issued for defendant FERNANDO ALVAREZ, also

known as “Rancho,” so that he may be dealt with according to law.

41 Wal

Ces L. Oksala
Special Agent
Drug Enforcement Administration

  

UNITED STATES STRATE G
EASTERN DISTRICH oO NEW YORK

 

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